243 F.2d 797
    Harvey GELFAND, a minor, Appellant,v.STROHECKER, Inc., a corporation, Appellee.Judy GELFAND, a minor, Appellant,v.STROHECKER, Inc., a corporation, Appellee.Rose GELFAND, Appellant,v.STROHECKER, Inc., a corporation, Appellee.
    Nos. 12996-12998.
    United States Court of Appeals Sixth Circuit.
    April 16, 1957.
    
      A. H. Dudnick, S. F. Komito, Cleveland, Ohio, for appellants.
      Thomas E. Antonelli, Youngstown, Ohio, for appellee.
      Before McALLISTER, MILLER and STEWART, Circuit Judges.
      PER CURIAM.
    
    
      1
      The above cause having come on to be heard upon the record, the briefs of the parties, and the argument of counsel in open court, and the court being duly advised,
    
    
      2
      Now, therefore, it is ordered, adjudged and decreed that the judgment of the district court be and is hereby affirmed upon the opinion of Judge Weick, 150 F. Supp. 655, setting aside the verdicts of the jury and entering judgments in favor of defendant, dismissing the several complaints.
    
    